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                     THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                        )
BEAN LLC d/b/a FUSION GPS,              )
                                        )
                  Plaintiff,            )
                                        )
                  v.                    )
                                        ) Civil Action 17-cv-2187-RJL
DEFENDANT BANK,                         )
                                        )
                  Defendant,            )
                                        )
                  and                   )
                                        )
PERMANENT SELECT COMMITTEE              )
ON INTELLIGENCE OF THE U.S.             )
HOUSE OF REPRESENTATIVES,               )
                                        )
                  Defendant-Intervenor. )
                                        )

       PLAINTIFF’S EMERGENCY MOTION FOR A STAY PENDING APPEAL

       Plaintiff Bean LLC d/b/a Fusion GPS (“Fusion”) respectfully moves this Court for a stay

pending appeal of its January 4, 2018 Order (Dkt. 58) denying its motion for a preliminary

injunction pursuant to Fed. R. Civ. P. 62(c) and Federal Rule of Appellate Procedure 8(a). Such a

stay will preserve the status quo and allow Fusion to appeal this Court’s determination of these

novel and serious issues while protecting the confidentiality of its bank records. On January 4,

2018, pursuant to Local Civil Rule 7(m), counsel for Fusion conferred with counsel for the

Committee, who indicated that the Committee opposes this Motion, and with Defendant Bank’s

counsel, which has stated that “the Bank is processing the documents responsive to the

Committee’s subpoena and, absent a stay, will produce the documents promptly.” A proposed

order is attached.
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       Fusion sought to restrain its bank from producing specific bank records to the Permanent

Select Committee on Intelligence of the House of Representatives (“the Committee”), which is

investigating Russian “active measures” aimed at interfering in the 2016 U.S. presidential election.

The Committee has targeted Fusion because of its campaign research work that led to the so-called

Russia “dossier” on President Trump. The 70 bank records in question do not relate in any way to

this work. If the Defendant Bank is required to produce them, Fusion, and potentially third parties,

will be irreparably harmed, while the Committee and the Bank will not be harmed. Indeed, there

is a significant risk of leaks from the investigation, and leaks have already resulted in retaliation

against a senior Justice Department attorney whose wife, a Russia expert, has done work for Fusion

in the past. Fusion is likely to succeed on the merits of its appeal because the subpoena violates

the First Amendment rights of Fusion and its associates, as well as Fusion’s due process rights in

its bank records. Fusion thus urges this Court to stay its judgment pending final determination of

this important question on appeal. See Fed. R. Civ. P. 62(c).

                                          ARGUMENT

       This Court can award a stay pending appeal when: (1) “the stay applicant has made a

strong showing that he is likely to succeed on the merits”; (2) “the applicant will be irreparably

injured absent a stay”; (3) “issuance of the stay will [not] substantially injure the other parties

interested in the proceeding”; and (4) awarding a stay is in “the public interest.” Hilton v.

Braunskill, 481 U.S. 770, 776 (1987); see also Washington Metro. Area Transit Comm’n v.

Holiday Tours, Inc., 559 F.2d 841, 842–44 (D.C. Cir. 1977).

       This Circuit applies each of these factors “flexibly according to the unique circumstances

of each case.” McSurley v. McClellan, 697 F.2d 309, 317 (D.C. Cir. 1982). Thus, “the necessary

‘level’ or ‘degree’ of possibility of success will vary according to the court’s assessment of the

other factors.” Washington Metro., 559 F.2d at 843-44 (rejecting “a wooden ‘probability’

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requirement” in favor of “an analysis under which the necessary showing on the merits is governed

by the balance of equities as revealed through an examination of the other three factors.”). “A

party does not necessarily have to make a strong showing with respect to the first factor (likelihood

of success on the merits) if a strong showing is made as to the second factor (likelihood of

irreparable harm).” People for the Am. Way Found. v. U.S. Dep’t of Educ., 518 F. Supp. 2d 174,

177 (D.D.C. 2007). And if several factors support a stay, Fusion need only show “a ‘substantial

case on the merits,’ even if ultimate success is not a mathematical probability.” McSurley, 697

F.2d at 317.

       Each factor supports issuing a stay here.

       A.      Fusion is Likely to Succeed on the Merits.

       Plaintiffs meet the first factor for the purposes of a stay pending appeal, particularly in

these novel circumstances. Indeed, to demonstrate a likelihood of success, Plaintiff need not

“‘show[] a mathematical probability of success’” but merely a challenging, serious legal questions

that present a need for a “‘more deliberative investigation.’” Jewish War Veterans of U.S., Inc. v.

Gates, 522 F. Supp. 2d 73, 76 (D.D.C. 2007) (citing Washington Metro., 559 F.2d at 844).

       Fusion’s appeal presents numerous serious issues that warrant preserving the status quo

here in order to allow the appellate court to weigh in. The subpoena to Fusion’s bank is an abuse

of congressional investigatory power that falls squarely within the test in Watkins v. United States,

354 U.S. 178, 187 (1957) (“Investigations conducted solely for personal aggrandizement of the

investigators or to ‘punish’ those investigated are indefensible.”). There is evidence that the

subpoena was issued pretextually in an effort to harm Fusion and its associates. The Committee

has subpoenaed no bank but Fusion’s and appears to have engaged in strategic leaks which have

already resulted in the demotion of a senior Justice Department attorney whose wife, a Russia

expert, worked as a contractor for Fusion. Notice of Additional Record Evidence (“Notice”), Dkt.

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45 at 3. “[T]here is no congressional power to expose for the sake of exposure.” Watkins, 354

U.S. at 200. “Investigations conducted solely . . . to ‘punish’ those investigated are indefensible.”

Id. at 187; see also Sweezy v. State of N.H. by Wyman, 354 U.S. 234, 245 (1957) (recognizing that

legislative investigations “are capable of encroaching upon the constitutional liberties of

individuals”). The Court has disregarded this evidence.

       This Court also erred in finding that there is no First Amendment associational right in the

records because Fusion’s records present only commercial information. See The New York Times

Co. v. Gonzales, 459 F.3d 160, 167–68 (2d Cir. 2006) (noting, in discussing a subpoena to

regarding union’s payroll deduction system, that “First Amendment rights are implicated

whenever government seeks from third parties records of actions that play an integral part in

facilitating an association's normal arrangements for obtaining members or contributions.”); cf.

Citizens United v. Fed. Election Comm’n, 558 U.S. 310, 339 (2010) (noting that ban on

expenditures is a ban on speech). The bank records will reveal to the Committee other persons

that have worked for Fusion or who have hired Fusion, who may then also be subject to retaliation,

as has already occurred here. Notice, Dkt. 45. Although the First Amendment may not be a

“secrecy pact,” Op. at 21, the First Amendment has long protected anonymous speech and

association, McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 341-42 (1995), particularly where

exposure will result in retaliation from those with a history of animus and reprisal, see NAACP v.

Alabama, 357 U.S. 449, 463 (1958).

       This Court also did not address Fusion’s arguments that the subpoena violates its due

process rights, including because it seeks to appropriate Fusion’s private bank records, because it

was issued contrary to committee rules, was ultra vires, and seeks records irrelevant to the




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    investigation.1 Coupled with the animus exhibited against Fusion, this constitutes a violation of

    Fusion’s due process rights. George Wash. Univ. v. D.C., 318 F.3d 203, 209 (D.C. Cir. 2003) (due

    process is violated where government violates law out of animus); Silverman v. Barry, 845 F.2d

    1072, 1080 (D.C. Cir. 1988) (same); see also Steinberg v. D.C., 901 F. Supp. 2d 63, 73 (D.D.C.

    2012) (noting that challenging governmental action as based on “illegal animus” states a legitimate

    due      process       claim);        see      also       Sweezy,        354        U.S.       at      245;

    (https://www.nytimes.com/2018/01/02/opinion/republicans-investigation-fusion-gps.html

    (describing the numerous attacks on Fusion by the federal government despite Fusion’s sincere

    efforts to cooperate with legitimate investigatory aims).

           B.      Absent a Stay, Fusion and Third Parties Will Be Irreparably Harmed.

           Once the bank records are released to HPSCI, “the very rights [Plaintiff] seeks to protect

    will have been destroyed.” Council on Am.-Islamic Relations v. Gaubatz, 667 F. Supp. 2d 67, 76

    (D.D.C. 2009) (issuing TRO to enjoin former intern of nonprofit corporation from using or

    disclosing confidential business records, including confidential donor lists, because of the

    irreparable harm to the corporation that would ensue); see also Morgan Stanley DW Inc. v. Rothe,

    150 F. Supp. 2d 67, 77-78 (D.D.C. 2001) (entering a TRO upon a finding that the plaintiff financial

    services firm would suffer irreparable harm from disclosure of confidential client information

    because of “the concomitant loss of customer trust and goodwill” and the fact that clients will not

    trust the firm if they “begin to feel that their personal information is not safe with the plaintiff.”).

    The Committee will violate Fusion’s right to due process by taking possession of its confidential




1
      Indeed, the New York Times reported recently that information that George Papadopoulos, a former Trump
      campaign foreign policy advisor, provided to an Australian diplomat—and not the Steele dossier—prompted the
      FBI’s investigation into Russia’s “active measures” to influence the 2016 campaign.
      https://www.nytimes.com/2017/12/30/us/politics/how-fbi-russia-investigation-began-george-
      papadopoulos.html?_r=0.

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bank records, and will have obtained the information necessary to further pursue its retaliatory

aims, in violation of the First Amendment rights of Fusion and its associates.2

        The threat of retaliatory disclosure of confidential information in the records is not just

theoretical, it is part of a pattern and an underlying purpose of the subpoena. See, e.g., Decl. of

Josh Levy (Dkt. 13-2); Decl. of Glenn R. Simpson (Dkt. 45-15). Once these First Amendment

associational rights are violated—“there can be no do over and no redress.’” League of Women

Voters of United States v. Newby, 838 F.3d 1, 9 (D.C. Cir. 2016) (citation omitted). And “[t]he

loss of First Amendment freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury.” Elrod v. Burns, 427 U.S. 347 (1976).

        Moreover, compliance with the subpoena—and disclosure of its client relationships—

threatens Plaintiff’s business, which often involves confidential retentions. Nat’l Prisoners

Reform Ass’n v. Sharkey, 347 F. Supp. 1234, 1237 (D.R.I. 1972) (holding that because the court

would not be able to provide any meaningful relief if association ceased to exist, the plaintiff

association had shown irreparable harm necessitating a TRO).

        C.       A Stay Will Neither Substantially Injure Any Other Party Nor Harm the
                 Public’s Interest.

        While there is a public interest in allowing Congress to investigate issues of national

importance expeditiously, this interest does not trump the constitutional rights of the subjects of

those investigations. The public interest in ensuring that Congress respects its boundaries and the

rights of its citizens is paramount. The public interest in protecting First Amendment rights is

strong. “[T]here is always a strong public interest in the exercise of free speech rights otherwise

abridged by an unconstitutional” legislative act. Pursuing America’s Greatness, 831 F.3d at 511.


2
    The Committee has taken the position that the Defendant Bank must produce the documents immediately, prior
    to any appeal by Plaintiff, due to the parties’ Confidentiality Agreement. That position grossly mischaracterizes
    the Confidential Agreement, as set forth in prior pleadings. See Dkt. 51.

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“[E]nforcement of an unconstitutional” legislative act “is always contrary to the public interest.”

Gordon v. Holder, 721 F.3d 638, 653 (D.C. Cir. 2013) (emphasis added); see also Llewelyn v.

Oakland Cnty. Prosecutor’s Office, 402 F. Supp. 1379, 1393 (E.D. Mich. 1975) (“[I]t may be

assumed that the Constitution is the ultimate expression of the public interest.”).

       The public’s interest will not be harmed by a stay because the Committee has never

demonstrated how information in the bank records has even marginal relevance to any particular

upcoming interview. Indeed, Committee members have publicly claimed that they are wrapping

up their investigation in the “coming weeks” and that they “have largely completed all interviews

relevant to the narrow scope of inquiry Democrats had agreed to last spring.”                   See

https://www.nbcnews.com/politics/congress/house-republicans-prepare-wrap-contentious-russia-

investigation-n830561.

                                         CONCLUSION

       For the foregoing reasons, Fusion respectfully requests that its motion be granted and that

a stay order be issued pending resolution of Fusin’s appeal.

 Dated: January 5, 2018                              Respectfully submitted,

                                                     /s/ Theodore J. Boutrous, Jr..
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                                  Counsel for Plaintiff BEAN LLC, d/b/a
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of January 2018, the foregoing was filed on the Court’s

CM/ECF system, thereby serving all counsel of record in this matter.




                                                    /s/ Theodore J. Boutrous, Jr.




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                     THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                        )
BEAN LLC d/b/a FUSION GPS,              )
                                        )
                  Plaintiff,            )
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                  v.                    )
                                        ) Civil Action 17-cv-2187-RJL
DEFENDANT BANK,                         )
                                        )
                  Defendant,            )
                                        )
                  and                   )
                                        )
PERMANENT SELECT COMMITTEE              )
ON INTELLIGENCE OF THE U.S.             )
HOUSE OF REPRESENTATIVES,               )
                                        )
                  Defendant-Intervenor. )
                                        )

                                     [PROPOSED] ORDER

         Upon consideration of Plaintiff’s Emergency Motion for a Stay Pending Appeal, it is

hereby

         ORDERED that Plaintiff’s Motion for a Stay Pending Appeal is GRANTED.


         Upon consideration of Plaintiff’s Emergency Motion for a Stay Pending Appeal, it is

hereby

         ORDERED that Plaintiff’s Motion for a Stay Pending Appeal is GRANTED.

         ORDERED that the Court’s January 4, 2017 Order Denying Plaintiff’s Motion for

Preliminary Injunction is STAYED pending adjudication of Plaintiff’s appeal.

         SO ORDERED this ____ day of _______________ 2018.


                                             _______________________________________
                                             HON. RICHARD J. LEON
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                                     United States District Judge


SO ORDERED this ____ day of _______________ 2018.



                                     _______________________________________
                                     HON. RICHARD J. LEON
                                     United States District Judge




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